Case 19-10562      Doc 171   Filed 06/27/19 Entered 06/27/19 11:58:03            Desc Main
                              Document     Page 1 of 7



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  In re:                                 )       Chapter 11
                                         )
  BCause Mining LLC,                     )
                                         )       Judge Janet S. Baer
  Debtor/Debtor-in-Possession.           )
                                         )       Case No. 19-10562
                                         )       (Jointly Administered)

                                NOTICE OF MOTION

 TO:       ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 2nd day of July, 2019, at 10:00 a.m., or
 soon thereafter as counsel can be heard, I shall appear before the Honorable Janet
 S. Baer, Bankruptcy Judge, in the room usually occupied by him as Courtroom 615
 in the United States Bankruptcy Court in the Everett McKinley Dirksen Federal
 Building, 219 S. Dearborn Street, Chicago, Illinois, or before any other Judge who
 may be sitting in his place and stead and shall present the Motion of BCause LLC
 for Authority to Enter Into Office Service Agreement, a copy of which is
 attached hereto and herewith served upon you, and shall pray for the entry of an
 Order in compliance therewith.

           AT WHICH TIME and place you may appear if you so see fit.

                                                      /s/Scott R. Clar
                                                      Crane, Simon, Clar & Dan
                                                      135 S. LaSalle St., # 3705
                                                      Chicago, Illinois 60603
                                                      (312) 641-6777

                             CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he
 caused a copy of the foregoing Notice and attached Motion to be served via the
 Court’s Electronic Registration (ECF)/email (as indicated) or First Class U.S. Mail
 (where indicated) on all parties listed on the attached Service List on the 27th day
 of June, 2019.

                                                              /s/Scott R. Clar




                                             i
Case 19-10562   Doc 171    Filed 06/27/19 Entered 06/27/19 11:58:03        Desc Main
                            Document     Page 2 of 7




                                    SERVICE LIST

 Via ECF

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                                         ii
Case 19-10562   Doc 171   Filed 06/27/19 Entered 06/27/19 11:58:03   Desc Main
                           Document     Page 3 of 7



 Maria G. Carr
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 Jennifer McLain McLemore
 Williams Mullen
 200 S. 10th St., #1600
 Richmond, VA 23219
 Jmclemore@williamsmullen.com

 Via First Class U.S. Mail
 318 Adams Level Office LLC
 Attn: Kayley Dicicco
 318 W. Adams St.
 Chicago, IL 60606




                                     iii
 Case 19-10562       Doc 171     Filed 06/27/19 Entered 06/27/19 11:58:03        Desc Main
                                  Document     Page 4 of 7



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                    )   Chapter 11
                                           )
 BCause Mining LLC,                        )
                                           )   Judge Janet S. Baer
 Debtor/Debtor-in-Possession.              )
                                           )   Case No. 19-10562
                                           )   Jointly Administered

 MOTION OF BCAUSE LLC FOR AUTHORITY TO ENTER INTO OFFICE SERVICE
                           AGREEMENT

          BCause LLC, a Virginia limited liability company, debtor/debtor-in-possession

herein (“Debtor”), by and through its attorneys, makes its Motion for Authority to Enter

Into Office Service Agreement (“Motion”), pursuant to Section 365 of the Bankruptcy

Code, and in support thereof, respectfully states as follows:

                                         Introduction

          1.    On April 12, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

          2.    The Debtor has been operating its business and managing its financial

affairs as debtor-in-possession since the Petition Date. No trustee, examiner or

committee of unsecured creditors has been appointed in the Debtor’s Chapter 11 case.

          3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

157 and 1334.

          4.    This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).

          5.    The statutory predicate for the relief requested in this Motion is Section 365

of the Bankruptcy Code.

                                               1
 Case 19-10562     Doc 171     Filed 06/27/19 Entered 06/27/19 11:58:03       Desc Main
                                Document     Page 5 of 7



         6.   By this Motion, the Debtor requests that this Court enter an Order

authorizing it to enter into a certain Office Service Agreement with 318 W. Adams Level

Office LLC (the “Adams Agreement”). A copy of the Adams Agreement is attached as

Exhibit A. The Adams Agreement is for a period of six (6) months through and including

January 31, 2020. Under the Adams Agreement the Debtor receives two (2) office

spaces, covering 600 sq. ft. and includes reception, kitchen facility and conference rooms.

         7.   The Adams Agreement contemplates a total initial payment of $5,098,

which includes a first month’s fee of $4,298, and a setup and exit fee of $800 (the

“Associated Charges”). The Associated Charges are incorporated into the Debtor’s most

recent budget submitted to the Court in connection with the Fifth Interim Cash Collateral

Order.

         8.   The monthly office fee for which the Debtor is obligated is $1,599 for office

1512 and $2,699 for office 1514.

                             Relevant Factual Background

         9.   The Debtor, BCause Mining LLC, is a limited liability company formed in the

Commonwealth of Virginia in 2013. The Debtor, BCause LLC, is a holding company that

wholly owns and is the only member of BCause Mining LLC (“Mining”) (formed in 2017);

BCause Spot LLC (2017); BCause Derivatives LLC (2017); BCause Clear LLC (2017);

BCause Secure LLC (2018); and BCause Trust, Inc. (2018), each also formed in the

Commonwealth of Virginia. Each entity is in good standing in Virginia. The Debtor has

operations in Virginia Beach, VA and in Chicago, IL and employs 27 full-time and 4 part-

time employees.




                                            2
 Case 19-10562      Doc 171     Filed 06/27/19 Entered 06/27/19 11:58:03        Desc Main
                                 Document     Page 6 of 7



       10.    The Debtor is building a full-stack cryptocurrency ecosystem which is

intended to be a venue that will serve as a one-stop shop for all parts of the digital

currency value chain. The various subsidiary entities are intended to serve professional

traders, institutional investors, retail traders, and bitcoin miners. No entity other than

Mining and the Debtor are currently operating.

       11.    The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia, and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago,

Illinois, 60661, and 192 Ballard Court, Virginia Beach, Virginia.

       12.    Both the Debtor and Mining’s Chapter 11 filings were triggered by a

judgment entered in favor of WESCO in the approximate amount of $1,300,000 and a

garnishment of the Debtor’s bank account, from which all of the Debtor’s and Mining’s

bills are paid, including bills for utilities such as Dominion Energy, which had threatened

a shut-off of Mining’s utilities for non-payment, as of April 12, 2019.

                            The Debtor’s Chicago Presence

       11.    On the Petition Date, the Debtor’s Chicago employees were located at 130

S. Jefferson, Suite 101, Chicago, Illinois (the “Jefferson Street Location”).

       12.    The Debtor is in the process of rejecting the lease for the Jefferson Street

Location. Rejection of the lease for the Jefferson Street Location and entry into the

Adams Agreement results in a cost savings for the Debtor, upon information and belief,

of between $4,000 - $5,000 per month.

       13.    The Debtor is committed to reducing expenditures in its Chapter 11 case.




                                              3
 Case 19-10562      Doc 171     Filed 06/27/19 Entered 06/27/19 11:58:03        Desc Main
                                 Document     Page 7 of 7



                                     Relief Requested

       14.    The Debtor requests the entry of an order authorizing it to enter into the

Adams Agreement immediately upon the entry of an order on this Motion.

       15.    Entry into the Adams Agreement is in the best interests of the Debtor’s

estate and its creditors for the reason that expenses will be reduced.

       WHEREFORE, BCause LLC, a Virginia limited liability company, debtor/debtor-in-

possession, prays for the entry of an order authorizing the Debtor to enter into that certain

Office Service Agreement between the Debtor and 318 W. Adams Level Office LLC,

beginning August 1, 2019, and granting such other relief as this Court deems just and

equitable.

                                                  BCause LLC, a Virginia limited
                                                  liability company,

                                                  By:/s/Scott R. Clar
                                                      One of its Attorneys


DEBTOR’S COUNSEL:
Scott R. Clar
(Atty. No. 06183741)
Crane, Simon, Clar & Dan
135 S. LaSalle Street, Suite 3705
Chicago, Illinois 60603
312-641-6777
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                                              4
